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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                        )
BEAN LLC d/b/a FUSION GPS               )
                                        )
                  Plaintiff,            )
                                        )
                  v.                    )
                                        )    Civil Action 1:17-cv-2187-TSC
DEFENDANT BANK,                         )
                                        )
                  Defendant,            )
                                        )
                  and                   )
                                        )
PERMANENT SELECT COMMITTEE              )
ON INTELLIGENCE OF THE U.S.             )
HOUSE OF REPRESENTATIVES,               )
                                        )
                  Defendant-Intervenor. )
                                        )

                        PLAINTIFF’S MOTION TO REOPEN CASE

       In accordance with the Stipulation and Order (Dkt. No. 19), Plaintiff hereby respectfully

moves to reopen the case to enforce the terms of the Confidential Agreement. Pursuant to the

Stipulation and Order, the Court has retained jurisdiction to enforce the terms of the Confidential

Agreement.

       In accordance with LCvR 7(m), Plaintiff has consulted with opposing counsel. Counsel for

Defendant Bank does not oppose this motion. Counsel for Intervenor opposes this motion.

       A proposed order is attached.
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Dated: November 3, 2017            Respectfully Submitted,

                                   /s/ William W. Taylor, III_______________
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                                 CERTIFICATE OF SERVICE


       I certify that on November 3, 2017, I filed the foregoing on the court’s CM/ECF system,

which caused it to be served on all registered parties.

                                                      /s/ Rachel M. Clattenburg____
                                                          Rachel M. Clattenburg
